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                                                                                   HLED
                              UNITED STATES DISTRICT COURT                        JAN 2 5 2018
                                DISTRICT OF SOUTH DAKOTA                          ^         ^
                                      SOUTHERN DIVISION



KRISTI H. THOMPSON,                                          CIV. #18- ^0 11
         Plaintiff,
                                                             COMPLAINT AND DEMAND
vs.                                                          FOR JURY TRIAL


NATIONAL UNION FIRE INSURANCE
COMPANY OF PITTSBURGH,

         Defendant.


         The Plaintiff, Kristi H. Thompson, by and through her counsel of record, and for her

causes of action again the Defendant, does hereby state and allege as follows.

                                   NATURE OF THE ACTION


         This is a breach of contract and bad faith action brought by Plaintiff, Kristi H. Thompson,

(hereafter referred to as Mrs. Thompson)against Defendant, National Union Fire Insurance

Company of Pittsburgh,(hereafter referred to as Defendant). Mrs. Thompson was severely and

permanently injured while working for her employer. Employer secured worker's compensation

insurance coverage for its employees including Mrs. Thompson from National. Defendant

denied worker's compensation benefits to Mrs. Thompson. Mrs. Thompson seeks those

worker's compensation benefits which National owes to Mrs. Thompson. Further, Mrs.

Thompson seeks to hold National accountable for its bad faith in handling of Mrs. Thompson's

claim.


                                             PARTIES


         I.       Mrs. Thompson is a citizen of the State of South Dakota and a resident of Sioux

Falls, Lincoln County.
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       2.      Upon information and belief, Defendant is a corporation duly organized and

existing under the laws ofPennsylvania, with its principle place of business in New York, which

at all times was duly authorized to issue insurance policies in the State of South Dakota.

                                JURISDICTION AND VENUE


       3.      Mrs. Thompson invokes the jurisdiction ofthis Court pursuant to 28 U.S.C. §

1332 based upon divert ofthe parties.

       4.      The amount in controversy exceeds the sum of $75,000.

       5.      A substantial part ofthe events giving rise to this action occurred in South Dakota

and,thus, venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(2).

                                             FACTS


       6.      On or about February 21, 2011, JC Penney in Brookings, SD (hereafter JC

Penney), employed Mrs. Thompson as a manager in its jewelry department.

       7.      On or about February 21, 2011, Defendant insured JC Permey for the purposes of

worker's compensation.

       8.      On or about February 21, 2011, Mrs. Thompson sustained a serious and

debilitating injury to her neck when she struck her head on a countertop while she was working

for JC Penney.

       9.      Mrs. Thompson reported her work related injury in a timely fashion to JC Penney

and JC Penney filed a first report ofinjury with the South Dakota Department of Labor (hereafter

Department).

        10.    JC Penney also reported Mrs. Thompson's work related injury to Defendant.

        11.    Upon receiving notice from JC Penney, Defendant began paying worker's

compensation benefit to or on behalf of Mrs. Thompson.
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       12.     On or about January 23, 2012, Defendant referred Mrs. Thompson to Dr. Paul

Cederberg for an adverse medical examination.

       13.     Following the January 23,2012, adverse examination of Mrs. Thompson, Dr.

Cederberg opined that Mrs. Thompson likely injured herself when she struck her head at work on

February 21, 2011.

       14.     On or about October 5, 2012, Defendant again referred Mrs. Thompson to Dr.

Cederberg for an adverse medical examination.

       15.     Defendant, its parent company AIG, and/or adjusters knew or should have known

that Dr. Cederberg has a long history of bias in favor of insurance companies such as Defendant.

       16.     Following Dr. Cederberg's adverse examination of Mrs. Thompson on October 5,

2012, Dr. Cederberg opined that any neck injury that Mrs. Thompson sustained was due to

previous existing degenerative disk disease and not result of strike her head while working for JC

Permey.

        17.    On or about December 21,2012, Defendant denied payment of any further

worker's compensation benefits to or on behalf of Mrs. Thompson.

        18.    Following Defendant's denial of benefits, Mrs. Thompson continued to received

medical treatment for her neck injury and eventually required two(2)surgeries resulting in a

three level fusion in her cervical spine.

        19.    As a result of her work related injury, Mrs. Thompson suffers from continuous

severe and debilitating pain resulting in her ability to earn insubstantial and sporadic income.

       20.     On or about August 24, 2012, Mrs. Thompson filed a Petition for Hearing with

the Department of Labor claiming Defendant and JC Penney owed additional worker's
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compensation benefits including, but not limited to, past and future medical expenses, temporary

total and partial disability, and permanent and total disability.

       21.     On or about September 7 and 8, 2016,the Department held a hearing on the

allegations contained in Mrs. Thompson's Petition for Hearing.

       22.     On or about February 23,2017, the Department entered its decision determining

that Mrs. Thompson was entitled to past and future medical expenses and permanent and total

disability benefits.

        23.    Following the Department's decision. Defendant appealed to the Circuit Court for

Hughes County, South Dakota.

        24.     While the appeal was pending, Mrs. Thompson and Defendant settled Mrs.

Thompson's claim for worker's compensation benefits in the amount of$400,000 which is less

than the amount of benefits owed Mrs. Thompson.

        25.     Mrs. Thompson agreed to settle her claim for worker's compensation benefits to

avoid further litigation and attomeys' fees and other economic reasons.

        26.     Under the terms ofthe settlement agreement. Defendant agreed to pay Mrs.

Thompson's future medical expenses related to her work related injury or fully fund a Medicare

Set Aside Arrangement.

        27.     Since the settlement. Defendant failed to pay Mrs. Thompson's medical expenses

or fully fund a Medicare Set Aside Arrangement.

                                           COUNT ONE
                                            BAD FAITH


        28.     Plaintiff hereby realleges paragraphs 1 through 27 and incorporates them as

though fully set forth herein.
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        29.    By virtue of its policy of worker's compensation insurance with JC Penney in

effect on or about February 21,2011, and Mrs. Thompson status as an insured under the policy,

Defendant was contractually obligated to pay Plaintiff worker's compensation benefits as a result

of her work related injury.

        30.    Defendant breached its duty to pay Mrs. Thompson worker's compensation

benefits in a timely manner pursuant to the policy.

        31.    Defendant's breach of its duty to under its policy resulted in substantial damage to

Mrs. Thompson.

        32.    Defendant's refusal to pay the full amount of worker's compensation benefits as

determined by the Department was vexatious and without reasonable cause and Plaintiff is

entitled to attorney's fees pursuant to SDCL § 58-12-3.

                                          COUNT TWO
                                           BAD FAITH


        33.    Plaintiff hereby realleges paragraphs 1 through 32 and incorporates them as

though fully set forth herein.

        34.    Because the policy constitutes a contract ofinsurance between Defendant and

Mrs. Thompson,there exists an implied covenant of good faith and fair dealing between them.

        35.    Mrs. Thompson injured herself while working for JC Penney with the policy

period and her injury was compensable under the terms ofthe policy, provided timely notice to

JC Penney and Defendant of her injury giving rise to coverage, and demanded payment for the

same.



        36.    Defendant knew that there was a lack of a reasonable basis for denial ofthe claim,

or else acted in reckless disregard as to whether or not a reasonable basis existed for the denial of

the claim.
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        37.     In addition to the denial of worker's compensation benefits, Defendant committed

bad faith against Mrs. Thompson in the following ways;

                a. Terminating benefits without any reasonable basis upon which to do so;

                b. Delaying the processing and handling of Mrs. Thompson's claim for benefits;

                c. Hiring a physician to conduct an adverse medical examination of Mrs.

                    Thompson that Defendant knew or should have known was biased in favor of

                    insurance companies.



                                   DEMAND FOR JURY TRIAL


        Pursuant to Rule 38 ofthe Federal Rules of Civil Procedure, the Plaintiff demands trial

by jury in this action of all issues so triable.

Dated: January 24,2018
       Sioux Falls, South Dakota



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